Case 4:22-cv-11894-NMG Document 1-5 Filed 11/09/22 Page 1 of 4




               EXHIBIT C
                 Case 4:22-cv-11894-NMG Document 1-5 Filed 11/09/22 Page 2 of 4




Tuesday, October 25, 2022 12:18:31 PM - Welcome to 20/20 Perfect Vision Land Records I2 - Profile 1 - Microsoft Edge
                 Case 4:22-cv-11894-NMG Document 1-5 Filed 11/09/22 Page 3 of 4




Tuesday, October 25, 2022 12:19:52 PM - Welcome to 20/20 Perfect Vision Land Records I2 - Profile 1 - Microsoft Edge
                 Case 4:22-cv-11894-NMG Document 1-5 Filed 11/09/22 Page 4 of 4




Tuesday, October 25, 2022 12:20:34 PM - Welcome to 20/20 Perfect Vision Land Records I2 - Profile 1 - Microsoft Edge
